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 1
     Jeffrey L. Staniels
 2   Attorney at Law
     216 F Street, No. 98
 3
     Davis, CA 95616
 4   Tel: (530) 220-9770
 5   Email: jeffreystaniels@gmail.com
 6
                     IN THE UNITED STATES DISTRICT COURT
 7
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

10
     UNITED STATES OF AMERICA,           ) NO. 2:12-cr-364 GEB
11                                       )
                                         )
12           Plaintiff,                  ) MOTION FOR ORDER THAN U.S
                                         ) MARSHAL PROVIDE FOR
13                                       ) NONCUSTODIAL TRAVEL OF
     v.                                  ) DEFENDANT PURSUANT TO
14                                       ) TITLE 18, UNITED STATES CODE
                                         ) SECTIONS 4285 AND 4282
15
     SIMEON SHAWNISE GREGORY             )
                                         )
16            Defendant.                 ) Date: January 24, 2014
                                         ) Time: 9:00 a.m.
17                                       ) Judge: Hon. Garland A. Burrell, Jr.
18
          Defendant SIMEON SHAWNISE GREGORY, by and through her
19
     court appointed attorney Jeffrey Staniels, hereby moves, pursuant to 18
20

21   U.S.C. §§ 4285 & 4282, for an order directing the U.S. Marshal to provide
22
     for the noncustodial travel of Ms. Gregory to Sacramento on January 8,
23

24   2014, in order to appear as a witness at an evidentiary hearing in the above
25
     case before the Hon. Garland E. Burrell, Jr. on January 9, 2014,1 and for
26

27

28   1
       This date is subject to confirmation with the court. Defense counsel is
     also seeking to advance a status conference regarding Ms. Gregory's own
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 1
     such further proceedings in connection with the same case as may be
 2
     scheduled.
 3

 4         The court is advised that Ms. Gregory has been subpoenaed to
 5
     appear as a witness at the evidentiary hearing. Government counsel
 6

 7   expected to arrange for transportation in connection with that subpoena but
 8
     has advised that regulations governing government-provided transportation
 9

10
     do not permit the government to pay for Ms. Gregory's travel to and from

11   this hearing. The court is further advised that the attorneys have reached a
12
     plea agreement and hope to schedule the case for change of plea and a
13

14   probation office interview during the time Ms. Gregory is in Sacramento
15
     next week. The court is further advised that government counsel
16

17   suggested that I make this request; on that basis it is submitted that this
18
     motion is unopposed by the government.
19
                                   Respectfully submitted,
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21

22
     DATE: December 30, 2013                    s/ Jeffrey L. Staniels
23
                                                Jeffrey L. Staniels
24                                              Attorney for Defendant
                                                SIMEON SHAWNISE GREGORY
25

26

27   part of the captioned case from January 24, 2014, to January 9, 2014, or to
     a date as near thereto as the district court may set. Travel back to Los
28
     Angeles is anticipated to be on the afternoon of the day when proceedings
     are completed.
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 1
                                          ORDER
 2
               The attached request for an order to provide transportation is
 3

 4   GRANTED. The U.S. Marshal is directed to arrange for Ms. Gregory to fly
 5
     from the Los Angeles area to Sacramento on January 8, 2014, and return
 6

 7   to the Los Angeles area on January 9, 2014, or on such date as
 8
     proceedings in the captioned case are completed.
 9

10
               Defense counsel is directed to confer with the U.S. Marshal with

11   respect to the dates of travel.
12
               IT IS SO ORDERED.
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14   Dated: December 30, 2013

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     Dad1.crim
     Gregory12cr0364.transportation
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